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                                                                                     Consolidated Creditor Matrix

                            NAME                              ADDRESS 1                           ADDRESS 2                     ADDRESS 3             CITY      STATE   POSTAL CODE   COUNTRY
1776 American Properties V                   P.O. Box 9993                                                                                  Spring              TX      77380
1Environmental LLC                           Scott Key                           501 Broadway St                    Suite B                 San Marcos          TX      78666
24 Hr Safety, LLC                            P.O. Box 4356                       Dept 1561                                                  Houston             TX      77210
3‐J Ryan, Inc.                               Bridget Reyes                       809 W. Pasadena Freeway                                    Pasadena            TX      77506
A TO Z Fence CO.                             P.O. Box 775                                                                                   LaMarque            TX      77568
A&B Valve and Piping Sytems                  Tara Ramos                          7425 Pinemont Dr, Suite 500                                Houston             TX      77040
AAA Flexible Pipe                            Michael A. Fisco                    3900 Underwood Road                                        La Porte            TX      77571‐3930
AAG Energy Recruitment                       Armando Guerra, Consultant          3323 Hickory Brook Lane                                    Kingwood            TX      77345
AC Plumbing Supply, Inc.                     P.O. Box 690253                                                                                Houston             TX      77269‐0253
ACC Business                                 Attn: John Baker, President & CEO   400 West Avenue                                            Rochester           NY      14611
Acc Business                                 P.O. Box 105306                                                                                Atlanta             GA      30348‐5306
ACE American Insurance Company               436 Walnut Street                                                                              Philadelphia        PA      19105
ACHILLE, DAVID                               5003 HOLLOWAY RD                                                                               ALVIN               TX      77511‐1908
Advanced Energy Commerce, Inc.               Katie O'Connor                      1883 White Knoll Drive                                     Toms River          NJ      08755‐1733
Advanced Geodetic Surveys                    23111 FM 1462                                                                                  Damon               TX      77430
AFEnergy LLC                                 11757 W Ken Caryl Ave               #F273                                                      Littleton           CO      80127
AFR Value Partners, L.P.                     50 Church St, 5th Floor                                                                        Cambridge           MA      02138
AIG Claims, Inc.                             Mark Donnici                        P.O. Box 25588                                             Shawnee Mission     KS      66225
Airgas USA, LLC                              P.O. Box 676015                                                                                Dallas              TX      75267
Alamo Transformer                            Cristina Hinojosa                   Supply Company                     P.O. Box 39908          San Antonio         TX      78218
Alcott Inc, dba TCH Directional Drilling     Meagan Spencer ‐ AR                 P.O. Box 1250                                              Friendswood         TX      77549
All American Communications                  Guido Giovannini                    P.O. Box 590698                                            Houston             TX      77259
Allen Engineering & Science                  Jeffrey Allen                       6360 I‐55 North, Suite 330                                 Jackson             MS      39211
Alliance Reprographics, LLC                  Michael Phillips                    2728 Columbia Street                                       Houston             TX      77008
Alliance Solutions Group                     47 S. Palm Avenue                   Suite 206                                                  Sarasota            FL      34236
Allied Insurance                             P.O. Box 514540                                                                                Los Angeles         CA      90051‐4540
Almeda‐Rowlett Retail West, LP               900 Town & Country Lane             Suite 210                                                  Houston             TX      77024
Alvarez & Marsal North America LLC           Gary R. Barton, Jr.                 700 Louisiana St.                  Suite 3300              Houston             TX      77002
Alvarez & Marsal North America LLC           Liz Carrington                      600 Madison Avenue, 8th Floor                              New York            NY      10022
Alvin Pest Control, LLC                      P.O. Box 790                                                                                   Alvin               TX      77512‐0790
AM Environmental, LLP                        Robin Messenger                     4110 Deer Trail                                            Spicewood           TX      78669
Amegy Bank                                   Bankcard Center                     P.O. Box 30833                                             Salt Lake City      UT      84130‐0833
Amegy Bank                                   Mark Devaney                        815 Walker Street                                          Houston             TX      77002
Amegy Bank                                   P.O. Box 27459                                                                                 Houston             TX      77227‐7459
Amegy Bank                                   Sandra Connelly                     Five Post Oak Park                 4400 Post Oak Parkway   Houston             TX      77027
Amegy Bank P Card Control Acct               P.O. Box 30833                                                                                 Salt Lake City      UT      84130‐0833
American Cargo Assurance, LLC                P.O. Box 2155                                                                                  Kenner              LA      70063
American Cowboy Musuem                       11822 Almeda Road                                                                              Houston             TX      77045
American Eagle Logistics, LLC                James Crotty                        P.O. Box 3307                                              Lafayette           LA      70502
American Stock Transfer                      P.O. Box 12893                                                                                 Philadelphia        PA      19176‐0893
AmSpec, LLC                                  Scott Healy                         1249 S. River Road                 Suite 204               Cranbury            NJ      08512
Andrew Lonnie Sikes, Inc.                    11415 Bedford Street                                                                           Houston             TX      77031‐2105
Andrews Kurth Kenyon LLP                     Michael Dinnin                      10001 Woodloch Forest Drieve       Suite 200               The Woodlands       TX      77380
Andrews Kurth Kenyon LLP                     Michele Blythe                      600 Travis, Suite 4200                                     Houston             TX      77002
Andrews Kurth Kenyon LLP                     Philip Haines                       600 Travis, Suite 4200                                     Houston             TX      77002
ANGERMILLER, MARTY                           2311 MID LN APT 412                                                                            HOUSTON             TX      77027‐4346
Ann Harris Bennett, Tax Assessor Collector   1001 Preston St.                                                                               Houston             TX      77002
Ann Harris Bennett, Tax Assessor Collector   P.O. Box 4622                                                                                  Houston             TX      77210‐622
Antler Supply Services, LLC                  1812 Avenue D                       Suite 206                                                  Katy                TX      77493
Apollo Office Systems, LLC                   Pamela Foley                        407 S. 2nd St                                              Alvin               TX      77511
Applied Consultants Inc.                     Chase Breckenridge                  P.O. Box 207091                                            Dallas              TX      75320‐7091
Aramax, Inc.                                 8641 Wayfairer Lane                                                                            Houston             TX      77075
Argus Media Inc.                             2929 Allen Parkway                  Suite 700                                                  Houston             TX      77019
Ashton Sawing & Drilling, LLC                Karyn Ashton                        P.O. Box 1709                                              Conroe              TX      77305
ASI Standards                                P.O. Box 86179                                                                                 Baton Rouge         LA      70879
ASL                                          12810 Willow Centre Drive           Suite A                                                    Houston             TX      77066‐3028

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                              NAME                                            ADDRESS 1                               ADDRESS 2                       ADDRESS 3               CITY      STATE   POSTAL CODE   COUNTRY
AT&T                                                           7602 Spring Cypress                       Room 226                                                   Spring              TX      77379
AT&T                                                           c/o Bankruptcy                            4331 Communications Drive Flr 4 W                          Dallas              TX      75211
AT&T                                                           P.O. Box 105414                                                                                      Atlanta             GA      30348‐5414
Atlas Petroleum Markets, LLC                                   4203 Montrose Blvd                        Suite 650                                                  Houston             TX      77006
Atlas‐Zie Energy SPV LLC                                       181 W. Madison Suite 3600                                                                            Chicago             IL      60602
Atlas‐Zie Energy SPV LLC                                       444 W. Lake Street, 50th Floor                                                                       Chicago             IL      60606
Audubon Engineering Company LP                                 111 Vetrans Blvd                          Suite 1200                                                 Metarie             LA      70005
Autonation                                                     1515 South Loop West                                                                                 Houston             TX      77054
Aventine Hill Partners, Inc.                                   Dept 553                                  P.O. Box 4346                                              Houston             TX      77056
AWC Incorporated                                               P.O. Box 974800                                                                                      Dallas              TX      75397
B. Riley FBR, Inc.                                             Perry M. Mandarino                        299 Park Avenue                     21st Floor             New York            NY      10171
B. Riley Financial, Inc.                                       11100 Santa Monica Blvd., Suite 800                                                                  Los Angeles         CA      90025
BAE, JAMES                                                     6005C KANSAS ST                                                                                      HOUSTON             TX      77007‐1009
Baker & O'Brien, Inc.                                          12001 N Central Expressway                Suite 1200                                                 Dallas              TX      75243
Baker Corp                                                     P.O. Box 843596                                                                                      Los Angeles         CA      90084‐3596
Bald Cypress, Ltd.                                             2727 Allen Parkway                                                                                   Houston             TX      77019
Barbara Thompson Stevenson Marshall Trust                      11420 Almeda Road                                                                                    Houston             TX      77045
Barbara Thompson Stevenson Marshall Trust, et al               Daniel W. Woods                           9 Greenway Plaza, Suite 3050                               Houston             TX      77046
Barbara Thompson Stevenson Marshall Trust, Mollie Taylor 
Stevenson, Sr. Heirs FLP, Ltd and Ben Taye Stevenson Choice 
& Lloyd D. Choice                                              Beverly D. Stevenson                      11420 Almeda Road                                          Houston             TX      77045
Barnes, Dwayne N.                                              P.O. Box 364                                                                                         Porum               OK      74455
Barnes, Pearl                                                  10903 Bay Cedar Drive                                                                                Houston             TX      77048
Basil Oilfield Services, Inc.                                  Connie Lindsey                            P.O. Box 93                                                Saratoga            TX      77585

Bay II Resource Partners, L.P.                                 2300 Windy Ridge Parkway, Ste 550 South                                                              Atlanta             GA      30339

Bay Resource Partners Offshore Master Fund, L.P.               2300 Windy Ridge Parkway, Ste 550 South                                                              Atlanta             GA      30339

Bay Resource Partners, L.P.                                    2300 Windy Ridge Parkway, Ste 550 South                                                              Atlanta             GA      30339
Bayou Construction & Excavation, LLC                           Daniel Merryman                           2300 Hwy 365 Ste 400                                       Nederland           TX      77627
BDO USA, LLP                                                   Alex Garside                              P.O. Box 677973                                            Dallas              TX      75267‐7973
Beer Wholesales Jr, Inc.                                       dba Ice Express                           8257 Gulf Freeway                                          Houston             TX      77017
Ben Taye Stevenson Choice                                      P.O. Box 450847                                                                                      Houston             TX      77245‐0847
BENJAMIN, ERIC                                                 6028 WHEATLEY AVE                                                                                    PORT ARTHUR         TX      77640‐2242
Bennett, Porter                                                284 South Meadow Drive                                                                               McAllister          MT      59740
Bennett, Porter                                                P.O. Box 160                                                                                         McAllister          MT      59740
Benning Power Electronics, Inc.                                Jami Raz                                  1220 Presidential Dr                                       Richardson          TX      77494
Berding, John B.                                               4705 Burley Hills Drive                                                                              Cincinnati          OH      45243
Bernard Specialties Inc.                                       Kevin Odem                                6525 Cunningham Rd. Bldg. C                                Houston             TX      77041
Best Care Cleaning Service                                     Micaela Chirstianansen                    P.O. Box 273191                                            Houston             TX      77277‐3191
Best Pumpworks                                                 P.O. Box 204739                                                                                      Dallas              TX      75320‐4739
Bible Way Fellowship Baptist Church                            10120 Hartstock St.                                                                                  Houston             TX      77034
Big Star Ford                                                  Heather Powell                            17717 South Freeway                                        Manvel              TX      77583
Bilberry, Michael C.                                           9807 Corral Corner Lane                                                                              Houston             TX      77064
Bizcom Technologies                                            25723 Overlake Drive                                                                                 Spring              TX      77380
Black Hawk Country Club                                        12610 FM 1464                                                                                        Richmond            TX      77407
Blackstone Steel LLC                                           AR ‐ Cara Coppock                         12027 Dula Lane                                            Cypress             TX      77429
Blinder, Yehuda                                                95 Dwight Place                                                                                      Englewood           NJ      07631
Blue Line Rental LLC                                           Dana Stephonson                           P.O. Box 840062                                            Dallas              TX      75284‐0062
BNSF Railway Company                                           2301 Lou Menk Drive                                                                                  Fort Worth          TX      76131
BNSF Railway Company                                           P.O. Box 676160                                                                                      Dallas              TX      75267‐6160
Boyd Ramsey Consulting, LLC                                    9490 FM 1960 Bypass West                  Suite 200‐320                                              Humble              TX      77338
Brenner‐Barlow Properties, LLC                                 10807 Falls Road #1106                                                                               Brooklandville      MD      21022
Bristow Law Firm                                               1610 Morse Street                                                                                    Houston             TX      77019
Broadridge                                                     CUSIP # U3058Q                            P.O. Box 416423                                            Boston              MA      02241

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Brown & Gay, Inc.                               Kim Wilson                                10777 Westheimer Road              Suite 400               Houston            TX      77042
Brown, Gregory L.                               10034 Valley Forge                                                                                   Houston            TX      77042
BRYAN, NICK                                     100 DETERING ST APT 3103                                                                             HOUSTON            TX      77007‐1489
Bunker Steel Corporation                        Bill Heller                               1225 North Loop West               #770                    Houston            TX      77008
Burkett, Rusty                                  2245 Texas Drive, Suite 200                                                                          Sugar Land         TX      77479
Burlington Northern Railway                     2500 Lou Menk Drive AOB3                                                                             Fort Worth         TX      76131
Burns & Reyes‐Burns, PLLC                       P.O. Box 429                                                                                         Sommerville        TX      77879
Burns McDonnell                                 P.O. Box 411883                                                                                      Kansas City        MO      64141‐1883
Burr Ridge Fence Co. Inc.                       P.O. Box 28                                                                                          Wallisville        TX      77597
Burrow Global Services, LLC                     Girish Sandhane                           P.O. Box 95285                                             Grapevine          TX      76099‐9752
C Tech Development Corp                         P.O. Box 519                                                                                         Osprey             FL      34229
C.F. McDonald Electric, Inc.                    Patty Weathers                            5044 Timber Creek                                          Houston            TX      77017
C.I. Actuation                                  Lisa Tomlin                               P.O. Box 842348                                            Dallas             TX      75284
C‐5 Trailer Sales & Equipment                   1721 Hwy 6 South                                                                                     Houston            TX      77077
Calpine Energy Solutions                        Michelle Manner                           401 West A Street, Suite 500                               San Diego          CA      92101
Calpine Energy Solutions                        P.O. Box 730964                                                                                      Dallas             TX      75373‐0964
Camin Cargo Control, Inc.                       P.O. Box 731485                                                                                      Dallas             TX      75373‐1485
Canon Safety/RHI Group                          Nova Walbridge                            P.O. Box 1879                                              Kilgore            TX      75663
Capitol Services                                P.O. Box 1831                                                                                        Austin             TX      78767
Cardenas, Lorenzo                               7623 Cedar Jump Drive                                                                                Humble             TX      77346
Carlile & Associates                            109056 Bourbon Street                                                                                Wills              TX      77318
Carol Crane Rigging & Lifting Technology Inc.   3626 Pasadena Blvd                                                                                   Pasadena           TX      77503
Carroll's Discount Office Furniture Company     5615 South Rice Avenue                                                                               Houston            TX      77081‐2191
Catalina Realty Inc.                            10425 Moers Road                                                                                     Houston            TX      77075‐3808
Cavern Solutions Inc.                           11200 Broadway                            Ste 2743                                                   Pearland           TX      77584
CDL JR Management Ltd                           2911 Quincannon Ln.                                                                                  Houston            TX      77043
Century Graphic & Sign, Inc.                    P.O. Box 8309                                                                                        Midland            TX      79708

CF Odey Absolute Return Fund                    12 Upper Grosvenor Street                                                                            London                     W1K2ND        UNITED KINGDOM
CF Straub Consulting, LLC                       12549 Deep Wood Creek Drive                                                                          Oklahoma City      OK      73142
CH2M Hill Engineers, Inc.                       P.O. Box 201869                                                                                      Dallas             TX      75320‐1869
Charles J. Jenkins & Associate                  P.O. Box 575                                                                                         Kemah              TX      77565
Charter Fire Protection, Inc.                   P.O. Box 4578                                                                                        Pasadena           TX      77502
Charter Title Company                           4265 San Felipe                           Suite 350                                                  Houston            TX      77027
Chemtec Energy Services, LLC                    Zane Bullock                              P.O. Box 677812                                            Dallas             TX      75267‐7812
Cherry Crushed Concrete                         BH Holesovsky                             6131 Selinsky                                              Houston            TX      77048
Chicago Title                                   1450 Lake Robbins Dr                      Suite 120                                                  The Woodlands      TX      77380
Choice Revocable Trust                          P.O. Box 450847                                                                                      Houston            TX      77045
Choice, Lloyd D.                                P.O. Box 450847                                                                                      Houston            TX      77245‐0847
Chube's Equipment Company, Inc.                 Lisa Harrison                             P.O. Box 1297                                              Channelview        TX      77530
City of Houston                                 1001 Washington Ave                       2nd Floor                                                  Houston            TX      77002
City of Houston                                 Fire Department                           P.O. Box 3625                                              Houston            TX      77253
City of Houston                                 Office of the City Engineer               1002 Washington Ave 2nd Floor                              Hosuton            TX      77002
City of Houston                                 P.O. Box 1560                                                                                        Houston            TX      77251
City of Houston                                 Permits Section                           P.O. Box 2688                                              Houston            TX      77252‐2688
City of Houston                                 Water Department                          Attn: Maria Olmeda                 4200 Leeland            Houston            TX      77023‐3016
City of Pasadena                                Water Department                          1202 Southmore                                             Pasadena           TX      77501
City Of Pasadena                                Water Department                          P.O. Box 1337                                              Pasadena           TX      77501
City of Pasadena Texas                          Controllers Office                        P.O. Box 672                                               Pasadena           TX      77501
City of Pasadena Texas Permit Dept.             Jeff Wagnor, Mayor                        P.O. Box 672                                               Pasadena           TX      77501
City of South Houston                           Ordinance                                 1018 Dallas                                                South Houston      TX      77587
Clark, George K.                                117 Oak Creek Lane                                                                                   League City        TX      77573

Claugus, Thomas E.                              2300 Windy Ridge Parkway, Ste 550 South                                                              Atlanta            GA      30339
Clean Co Systems, Inc.                          P.O. Box 301094                                                                                      Dallas             TX      75303
Clean Harbors Environmental Services Inc.       P.O. Box 3442                                                                                        Boston             MA      02241‐3442

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Clements Fence Co., Inc.                        Travis Burrow                        1007 Katyland Drive                                               Katy              TX      77493
Client Instant Access, LLC                      Thomas Bermingham                    6 Campus Drive                            1st Floor South         Parsippany        NJ      07054
Clipper Data, LLC                               6900 Cabot Court                                                                                       Prospect          KY      40059
Cloud, Mary Lee                                 4703 Kilkenny Drive                                                                                    Houston           TX      77048
Clough Global Dividend and Income Fund          One Post Office Square, 40th Floor                                                                     Boston            MA      02109
Clough Global Equity Fund                       One Post Office Square, 40th Floor                                                                     Boston            MA      02109
Clough Global Opportunities Fund                One Post Office Square, 40th Floor                                                                     Boston            MA      02109
Clough Investment Partners I, LP                One Post Office Square, 40th Floor                                                                     Boston            MA      02109
Clough Investment Partners II, LP               One Post Office Square, 40th Floor                                                                     Boston            MA      02109
Clough Offshore Fund (QP), Ltd.                 One Post Office Square, 40th Floor                                                                     Boston            MA      02109
Clough Offshore Fund, Ltd.                      One Post Office Square, 40th Floor                                                                     Boston            MA      02109
CNA Insurance                                   P.O. Box 382045                                                                                        Pittsburgh        PA      15251‐8045
CNP Houston Electric, LLC                       P.O. Box 61482                                                                                         Houston           TX      77208‐1482
Coastal Flow Liquid Measurement                 Jyl Gilbert                          P.O. Box 58965                                                    Houston           TX      77258‐8965
Coastal Ice, Inc.                               Scott McAllister                     P.O. Box 6809                                                     Kingwood          TX      77325
Cobia Controls, LLC                             720A Clear Creek Avenue                                                                                League City       TX      77573
Cochise Consulting Company                      Chief Saddler                        404 Borrum Street                                                 Del Rio           TX      78840
Code Doctor, L.P. Dba/ Caton Consulting Inc.    Hal Caton                            8300 Cypress Creek Pkwy,Suite 200                                 Cypress           TX      77070
Cogent Communications, Inc.                     2450 N. Street NW                                                                                      Washington        DC      20037
Cogent Communications, Inc.                     P.O. Box 791087                                                                                        Baltimore         MD      21279‐1087
Colbeck Capital                                 Management, LLC                      888 Seventh Avenue, 29th Floor                                    New York          NY      10106
Cole Credit Property Trust IV                   2325 East Camelback Rd, Suite 110                                                                      Phoenix           AZ      85016
COMBEL, TRAVIS                                  17106 NITSHILL LN                                                                                      RICHMOND          TX      77407‐2852
Combel, Travis                                  c/o TCCT Service                     17106 Nitshill Lane                                               Richmond          TX      77407
Comcast                                         Attn: Brian Roberts, CEO             One Comcast Center                                                Philadelphia      PA      19103‐2838
Comcast                                         P.O. Box 37601                                                                                         Philadelphia      PA      19101‐0601
Comcast                                         P.O. Box 660618                                                                                        Dallas            TX      75266‐0618
Common Ground Alliance                          2200 Wilson Blvd                     Suite 102‐172                                                     Arlington         VA      22201‐3324

Comptroller of Public Accounts State of Texas   Attn: Glenn Hegar                    Lyndon B. Johnson State Office Building   111 East 17th Street    Austin            TX      78774
Comptroller of Public Accounts State of Texas   Bankruptcy & Collections             P.O. Box 12548                                                    Austin            TX      78711‐2548
ConstrucTech Consultants, Inc.                  5531 Pine Street                     Unit 0                                                            Houston           TX      77081
Contract Land Staff, LLC                        c/o Rusty Burkett                    2245 Texas Drive, Suite 200                                       Sugar Land        TX      77479
Contract Land Staff, LLC                        P.O. Box 677926                                                                                        Dallas            TX      75267‐7926
Control Flow, Inc.                              P.O. Box 40788                                                                                         Houston           TX      77240‐0788
Cooper & Scully PC                              Fred Shuchart                        815 Walker Street, Suite 1040                                     Houston           TX      77002
Cooper, Ziegler                                 700 Louisiana Street                 Suite 350                                                         Houston           TX      77002
Core Associates, LLC                            P.O. Box 9521                                                                                          New York          NY      10087‐8521
Corrosion Products of Texas                     2003A Preston Ave                                                                                      Pasadena          TX      77503
Corrpro Companies, Inc.                         Jennifer Kladke                      P.O. Box 674173                                                   Dallas            TX      75267‐4173
COSA Xentaur Corporation                        Don Beckett                          7125 N. Loop East                                                 Houston           TX      77028
Crestmont Park                                  United Methodist Church              11503 Martin Luther King Blvd                                     Houston           TX      77048
Cristo Rey Corporate Work                       Study Program, Inc.                  6700 Mount Carmel St.                                             Houston           TX      77087
Cross Crountry Infrastructure Services, Inc.    Monica Tellez                        P.O. Box 843967                                                   Kansas City       MO      64184‐3967
CRT Services, LLC                               David Alderman                       11133 I‐45 S Ste O                                                Conroe            TX      77302
Cruide Oil Quality Association                  George Lywood                        5705 S. Union Lane                                                Littleton         CO      80127
Cultris Security Systems, Inc.                  karen smith                          1035 Dairy Ashford Suite 105                                      Houston           TX      77079
Curtis, Peggy                                   3326 Lockgate Drive                                                                                    Spring            TX      77388‐3375
D&D Auto Salvage                                4033 Almeda Genoa Road                                                                                 Houston           TX      77075
Dalio, Carl and Shawn                           65 E. Broad Oaks Dr.                                                                                   Houston           TX      77056
Dalley, Roger Kevin                             12207 Courtney Greens Rd                                                                               Houston           TX      77089
Dana Industrial Group LLC                       Andrew Garcia                        2385 S. Egret Bay Blvd                    Suite 161               League City       TX      77573
DAR 3 Riverway, LP                              P.O. Box 203236                                                                                        Dallas            TX      75320‐3236
Dashiell Corporation                            P.O. Box 840946                                                                                        Dallas            TX      75284‐0946
Datawatch Systems                               P.O. Box 79845                                                                                         Baltimore         MD      21279‐0845
Davies Construction                             Sharon Caro                          P.O. Box 16923                                                    Lake Charles      LA      70616‐6923

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Deepwell Energy Services, LLC                Chris Breedlove                  P.O. Box 2201                                                       Decatur              AL    35609‐2201

Delaware Attorney General                    Attn: Bankruptcy Dept            Carvel State Office Building          820 N. French Street, 6th Floor Wilmington         DE   19801
Delaware Division of Revenue                 Attn: Zillah Frampton            820 N. French Street                                                  Wilmington         DE   19801
Delaware Secretary of State                  Division of Corporations         P.O. Box 898                                                          Dover              DE   19903
Delaware Secretary of State                  P.O. Box 5509                                                                                          Binghamton         NY   13902‐5509
Delaware State Treasury                      820 Silver Lake Blvd.            Suite 100                                                             Dover              DE   19904
Dellisola, Paul                              1300 17th St Suite 1400                                                                                Arlington          VA   22209
DeLoach, Brandi                              19312 WT Gallway                                                                                       Gailway Manor      TX   78653
Derrick Corportion                           Alison Hoeltke                   P.O. Box 301191                                                       Dalls              TX   75303‐1191
Destefano, Lisa                              9997 Willow Falls Ln                                                                                   Brookshire         TX   77423‐1973
Deutsche Global Infrastructure Fund          345 Park Avenue                                                                                        New York           NY   10154
Deutsche MLP & Energy Infrastructure Fund    345 Park Avenue                                                                                        New York           NY   10154
Dexter, Gerald Lee                           11611 Graywood Drive                                                                                   Houston            TX   77089
DIRECTV                                      Bankruptcy                       4331 Communications Drive Flr 4 W                                     Dallas             TX   75211
DIRECTV                                      P.O. Box 105249                                                                                        Atlanta            GA   30348‐5249
Discount Tire                                Kevin Anthony Gatti              20225 N. Scottsdale Rd, Dept 2800                                     Scottsdale         AZ   85255
DistributionNOW                              Barry Lablanc                    P.O. Box 200822                                                       Dallas             TX   75320‐0822
Divicom                                      Gene Miller                      P.O. Box 3399                                                         Texas City         TX   77590
Dixie Pipe Sales, Inc.                       Accounts Payable                 P.O. Box 300650                                                       Houston            TX   77230‐0650
Doland, Sarah Jordan                         4627 Trembling Forest Lane                                                                             Houston            TX   77092
Dooley Tackaberry, Inc.                      P.O. Box 301292                                                                                        Dallas             TX   75302‐1292
Dooling Machine Products Texas               P.O. Box 3487                                                                                          Freeport           TX   77542
DOORNIK, JASON                               6 HIDDEN VIEW PL                                                                                       THE WOODLANDS      TX   77381‐4481
Drinkwater Products, LLC                     Craig Brentlinger ‐ AR           P.O. Box 180                                                          Centerville        LA   70522
Duarte, Gabriela                             3622 Sunbeam                                                                                           Houston            TX   77051
Duff & Phelps, LLC                           12595m Collection Center Drive                                                                         Chicago            IL   60693
Dunn, Miles Bradford                         dba Plan B Technical Services    6700 Richardson Rd, #303                                              Houston            TX   77069
Duphil, Inc.                                 R.E. Odom                        6608 IH 10 W                                                          Orange             TX   77632
Duphil, Inc.                                 Ron Redkey                       6608 I‐10 West                                                        Orange             TX   77632
Dupriest, J.C.                               3921 Arnold Street                                                                                     Houston            TX   77005
Dupriest, Judy K.                            3921 Arnold Street                                                                                     Houston            TX   77005
DXP Enterprises, Inc.                        AR Manager                       Bank of America Merrill Lynch         P.O. Box 840511                 Dallas             TX   75284‐0511
East Haven Auto Repair                       9607 East Haven St.                                                                                    Houston            TX   77075
Edgen Murray Corporaiton                     P.O. Box 844733                                                                                        Dallas             TX   75284‐4733
Edmondson, Terry, Jr. Mance                  3225 N St NW                                                                                           Washington         DC   20007
Edward & Ola Stanton Children's Trust        P.O. Box 750128                                                                                        Houston            TX   77275
EMERSON PARTNERS                             1522 ENGLEY AVE                                                                                        LOS ANGELES        CA   90024
Empire Mat                                   Jan Reid ‐ AR                    6451 County Line Road                                                 Summit             MS   39666
Empire Wireline, LLC                         P.O. Box 967                                                                                           Manvel             TX   77578
EMS Energy Solutions, LLC                    P.O. Box 207089                                                                                        Dallas             TX   75320‐7089
En*vantage                                   1402 Chestnut Grove                                                                                    Kingwood           TX   77345
Encompass Services, LLC                      Seth Marsolek                    394 Lake Ave S.                       Suite 510D                      Duluth             MN   55802
Energon Energy Services, LLC                 Max W. Simnitt, Jr.              27706 Rainy Creek Court                                               Fulshear           TX   77441
Energy Inspection Services, LL               P.O. Box 172175                                                                                        Denver             CO   80217‐2175
Energy Valve & Supply Co., LLC               8207 North Loop East             #400                                                                  Houston            TX   77029
Enterprise Commercial Paving                 10 Stokes Street                                                                                       Houston            TX   77022
Enterprise Crude Pipelines, LL               P.O. Box 4324                                                                                          Houston            TX   77210‐4324
EnviroCon Systems, Inc.                      P.O. Box 673048                                                                                        Houston            TX   77267
Envirodyne Laboratories, Inc.                11011 Brookley Drive             #230                                                                  Houston            TX   77099‐3543
Environmental LLC                            Scott Key                        501 Broadway Street                   Suite B                         San Marcos         TX   78666
Environmental Protection Agency ‐ Region 6   Bankruptcy Division              1445 Ross Avenue, Ste 1200                                            Dallas             TX   75202
Ergon‐Texas Pipeline, Inc.                   P.O. Box 1639                                                                                          Jackson            MS   39215
Ergos Technology Partners, LLC               Dept 186                         P.O. Box 4458                                                         Houston            TX   77210‐4458
Erskine Cavern Consulting                    Attn: Mark Erskine               31 High Bank Drive                                                    Missouri City      TX   77459
ERSKINE, JAMES                               31 HIGH BANK DR                                                                                        MISSOURI CITY      TX   77459‐1438

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Evangelist Temple COGIC                               11603 Martin Luther King Blvd                                                               Houston             TX      77048
Event 1 Software                                      3305 Main Street                 Suite 303                                                  Vancouver           WA      98663
Evergreen Industrial Services                         Liz Huard                        704 Old Underwood Road                                     La Porte            TX      77571
ExchangeBase, LLC                                     Peter Kowalski                   18500 Lake Rd.                     Suite A                 Rocky River         OH      44116
Expro Holdings US, Inc.                               Lisa Marin                       DEP 2080, P.O. Box 122080                                  Dallas              TX      75312‐2080
f/k/a Monster Heavy Haulers                           Deep Well Energy Services, LLC   P.O. Box 2201                                              Decatur             AL      35609‐2201
Fairfax, Joel                                         5247 Selinsky Road                                                                          Houston             TX      77048
Fairway Energy GP, LLC                                Dana A. Grams; Robert Flavin     Three Riverway                     Suite 1550              Houston             TX      77056
Fairway Energy Partners, LLC                          Dana A. Grams; Robert Flavin     Three Riverway                     Suite 1550              Houston             TX      77056
Fairway Energy, LP                                    Dana A. Grams; Robert Flavin     Three Riverway                     Suite 1550              Houston             TX      77056
FALCON GLOBAL PARTNERS LLC                            111 BROADWAY, 11TH FL                                                                       New York            NY      10006
Falcon Global Partners LLC                            1207 Plantation Village                                                                     Dorado              PR      00646
FBO J. STEVEN EMERSON, PERSHING LLC AS CUSTODIAN ‐ 
ROTH ACCT                                             1522 ENGLEY AVE                                                                             LOS ANGELES         CA      90024
FBR Capital Markets & Co.                             1300 N 17th Street, Suite 1400                                                              Arlington           VA      22209
FBR Capital Markets PT, Inc.                          1300 N 17th Street, Suite 1400                                                              Arlington           VA      22209
FedEx                                                 P.O. Box 660481                                                                             Dallas              TX      75266‐0481
Filipp Oilfield Service, LLC                          Alan Filipp                      16430 Meadow Lane                                          Danbury             TX      77534
Firmex Corp                                           110 Spadina Avenue, Suite 700                                                               Toronto             ON      M5V 2K4       CANADA
First American Title Co.                              1790 Hughes Landing              Suite 110                                                  The Woodlands       TX      77380
Fishman, Adam J.                                      11417 Patriot Lane                                                                          Potomac             MD      20854
Fishman, Adam J.                                      7819 Ivymont Terrace                                                                        Potomac             MD      20854
FIVE CORNERS IMPR DIST                                TAX ASSESSOR/COLLECTOR           P.O. Box 73109                                             HOUSTON             TX      77273‐3109
FLAVIN, ROBERT                                        6326 COLLINA SPRINGS CT                                                                     HOUSTON             TX      77041‐6169
Flowserve US Inc.                                     P.O. Box 98325                                                                              Chicago             IL      60693
Flow‐Zone LLC                                         Kelly Barrow                     Dept. 248                          P.O. Box 4346           Houston             TX      77210‐4346
Fluid Components International                        Corey Whitaker                   1775 La Costa Meadows Drive                                San Marcos          CA      92078
Forrest Services, LLC                                 2231 Sens Road                                                                              La Porte            TX      77571
Forthea Interactive                                   2727 Allen Parkway               Suite 1200                                                 Houston             TX      77019
Fox Rothschild, LLP                                   919 N. Market St., Suite 300                                                                Wilmington          DE      19899‐2323
FR Depot Inc.                                         714 Center Street                                                                           Deer Park           TX      77536
Franks International, LLC                             Department 840                   P.O. Box 4346                                              Houston             TX      77210‐4346
Freeman, Zabel                                        Richard Kerr                     1135 Heights Blvd                                          Houston             TX      77008
FTI Consulting Inc.                                   909 Commerce Road                                                                           Annapolis           MD      21401
Fugro Consultants, Inc.                               William Martin                   P.O. Box 301083                                            Dallas              TX      75303‐1083
Gajeski, Inc.                                         6200 N. Houston Rosslyn Road                                                                Houston             TX      77091
Garcia, Jose Fermin                                   8920 Lambright                                                                              Houston             TX      77075
Garza, Ramon                                          12619 East Freeway               Suite A                                                    Houston             TX      77015
Gate Guard Services, LP                               Conner Bishop                    5656 S. Staples                    Suite 312               Corpus Christi      TX      78411
Gator Construction LLC                                6101 Selinsky                                                                               Houston             TX      77048
Gator Specialty Services, LLC                         Elaine Williams                  2859 Westside Drive                                        Pasadena            TX      77502
Gator Trucking                                        6101 Selinksy Road                                                                          Houston             TX      77048
Gauss Electric LLC                                    5409 Rapido Road                                                                            Houston             TX      77033
GE Infrastructure Sensing, LLC                        c/o Bank of America              Lockbox #848502                                            Dallas              TX      75284‐8502
General Monitors Inc.                                 Dean Leible                      26776 Simpatica Circle                                     Lake Forest         CA      92630
Genscape Inc.                                         P.O. Box 417749                                                                             Boston              MA      02241‐7749
Geosyntec Consultants, Inc.                           Bryan Arsenault                  900 Broken Sound Pkwy              Suite 200               Boca Raton          FL      33487
GGA Reddy Family Limited                              Dr. Malladi Reddy                730 North Post Oak Road, Ste 330                           Houston             TX      77024
GHD Services, Inc.                                    Dept 406                         P.O. Box 8000                                              Buffalo             NY      14267
Girard Industries                                     6531 North Eldridge Parkway                                                                 Houston             TX      77041
Gittings                                              930 Main Street                  Suite T270                                                 Houston             TX      77002
Glenn Tech International Group                        12614 Misty Valley Drive                                                                    Houston             TX      77066
Glover, Faye                                          3621 Sunbeam                                                                                Houston             TX      77051
GM Land Holdings LLC                                  P.O. Box 751969                                                                             Houston             TX      77275‐1969
GOTTLOB, EDWARD                                       312 LAKESHORE DR                                                                            SEABROOK            TX      77586‐6034
Gottlob, Edward D.                                    312 Lakeshore Drive                                                                         Seabrook            TX      77586

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GOULD, DALE                                     2302 W VAN TREASE DR                                                                        DEER PARK             TX      77536‐6065
GR Birdwell Construction                        LouAnn Mayfield                 P.O. Box 690748                                             Houston               TX      77269
Grainger                                        100 Grainger Parkway                                                                        Lake Forest           IL      60045‐5201
GRAMS, DANA                                     4119 RILEY ST                                                                               HOUSTON               TX      77005‐3544
Granite Telecommunications                      100 Newport Ave. Ext.                                                                       Quincy                MA      02171
Granite Telecommunications                      P.O. Box 983119                                                                             Boston                MA      02298‐3119
Grant Thornton, LLP                             1901 S. Meyers Rd,              Suite 455                                                   Oakbrook Terrace      IL      60181
Great American Insurance Company                301 E. Fourth Street                                                                        Cincinnati            OH      45202
Great American Life Insurance Company           301 E. Fourth Street                                                                        Cincinnati            OH      45202
Green Equipment Company                         Rebecca Russell ‐ AR            2563 Gravel Drvie                                           Fort Worth            TX      76118
Griggs Corporation                              3900 Essex Lane #730                                                                        Houston               TX      77024
Gulf Coast Tubulars, Inc.                       Hunter Lawrence                 650 N. Sam Houston Pkwy East        Suite 301               Houston               TX      77060
Gulf Interstate Field Services                  P.O. Box 4580                   MSC#600                                                     Houston               TX      77210
Gullett & Associates, Inc.                      Dept 199                        P.O. Box 4458                                               Houston               TX      77210‐4458
H&A Holdings Group, Inc.                        4 Park Plaza, Suite 530                                                                     Irvine                CA      92614
Haddington Ventures, LLC                        J. Chris Jones                  2603 Augusta                        Suite 900               Houston               TX      77057
Hahn Equipment Co., Inc.                        AR‐Claudia Salas                5636 Kansas Street                                          Houston               TX      77007
Hajati, Zivar                                   3206 Blackcastle Drive                                                                      Houston               TX      77068
Hallmark Office Products, Inc.                  5650 Guhn Road                  #124                                                        Houston               TX      77040
Hance Scarborough, LLP                          400 W. 15th Street              Suite 950                                                   Austin                TX      78701
Harris County District Clerk                    1001 Preston                                                                                Houston               TX      77002
Harris County Flood Control District            10555 Northwest Freeway #100                                                                Houston               TX      77092
Harris Galveston Subsidence District            1660 West Bay Area Blvd                                                                     Friendswood           TX      77546‐2640
Hart Energy Publishing                          P.O. Box 5020                                                                               Brentwood             TN      37024‐9926
Hart, Jeff                                      33518 Windcrest Estates Blvd.                                                               Magnolia              TX      77354
Harvey, Jesse L.                                10620 Quarterstaff Road                                                                     Columbia              MD      21044
Hatch Mott MacDonald, LLC                       P.O. Box 510344                                                                             Pittsburgh            PA      15250‐0344
Hawkins Lease Service, Inc.                     Will Hawkins                    P.O. Box 1699                                               Alvin                 TX      77512
Haynes and Boone LLP                            Bill McDonald                   P.O. Box 841399                                             Dallas                TX      75284‐1399
Haynes and Boone, LLP                           Kelsey Zottnick                 1221 McKinney Street                Suite 2100              Houston               TX      77010
Haynes and Boone, LLP                           Martha Wyrick                   1221 McKinney Street                Suite 2100              Houston               TX      77010
Haynes and Boone, LLP                           Patrick L. Hughes               1221 McKinney Street                Suite 2100              Houston               TX      77010
HECKMAN, MICHAEL                                5815 PAGE LN                                                                                DEER PARK             TX      77536‐4953
Hein & Associates, LLP                          13727 Noel Road                 Suite 300                                                   Dallas                TX      75240
HELMCAMP, RANDALL                               401 W OAK ST                                                                                HIGHLANDS             TX      77562‐2849
Henderson, Earline                              5226 Dumore Drive                                                                           Houston               TX      77048
Henski Oilfield Services, LLC                   Jessica Bonilla                 P.O. Box 270568                                             Houston               TX      77277‐0568
HICKEY, KEVIN                                   12811 WINDING MANOR DR                                                                      HOUSTON               TX      77044‐6028
Hi‐Crush Services, LLC                          1330 Post Oak Blvd              Suite 600E                                                  Houston               TX      77056
Highline Exploration, LLC                       950 Echo Lane                   Suite 355                                                   Houston               TX      77024
Hilgert, Chris                                  734 Camelot Lane                                                                            Houston               TX      77024
HILGERT, CHRISTOPHER                            734 CAMELOT LN                                                                              HOUSTON               TX      77024‐5509
HMSDC                                           Three Riverway                  Suite 555                                                   Houston               TX      77056
Hobby Lawn, LLC                                 Joseph Lemon                    8915 Almeda Genoa Road                                      Houston               TX      77075
Hollywood Blasting & Coating                    Josh Barughman                  2105 W. 39                          2105 W. 39              Odessa                TX      79764
Holmes, John C.                                 12330 Queensbury Lane                                                                       Houston               TX      77024
HOLMES, ROBERT                                  12330 QUEENSBURY LN                                                                         HOUSTON               TX      77024‐4126
Honey Bee Trucking, Inc.                        Raynaldo Guiteirrez             19635 Wren Forest Lane                                      Houston               TX      77084
HORIBA Instruments, Inc.                        Mario Duenas                    P.O. Box 512936                                             Los Angeles           CA      90051‐0936
Houlihan Lokey Capital, Inc.                    10250 Constellation Blvd        5th Floor                                                   Los Angeles           CA      90067
Houston Business Journal                        P.O. Box 36919                                                                              Charlotte             NC      28236‐9904
Houston Communications, Inc.                    Max Williams                    1105 Industrial Blvd                                        Sugarland             TX      77478
Houston Livestock Show & Rodeo Inc.             8334 Fannin St.                                                                             Houston               TX      77054
Houston Minority Supplier Development Council   Three Riverway, Suite 555                                                                   Houston               TX      77056
Houston‐Pasadena Apache Oil                     P.O. Box 177                                                                                Pasadena              TX      77501
HUBERT, MATTHEW                                 1107 W 24TH ST                                                                              HOUSTON               TX      77008‐1821

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Hubert, Matthew                                                1107 W. 24th St                                                                                        Houston             TX      77008
Hughes, Victoria                                               5247 Selinsky Road                                                                                     Houston             TX      77048
Hunt Guillot & Associates, LLC                                 Don Plummer                             P.O. Box 580                                                   Ruston              LA      71273
Hunt, Patton & Brazeal                                         7170 S. Braden                          Suite 185                                                      Tulsa               OK      74136
Hunton Andrews Kurth LLP                                       Philip Haines                           P.O. Box 301276                                                Dallas              TX      75303‐1276
Hydrologic Monitoring, LLC                                     Scot Ude                                1654 W. Sam Houston Parkway N.                                 Houston             TX      77043
IDEX Energy & Fuels, Inc.                                      P.O. Box 846003                                                                                        Dallas              TX      75284‐6003
iE Group, LLC                                                  c/o CFE Inc                             P.O. Box 260074                                                Corpus Christi      TX      78426
Industrial Shelving Systems                                    Matt Bentrup                            455 E. Elliott Ave                                             St. Louis           MO      63122
Industrial Solutions Group LLC                                 P.O. Box 3729                                                                                          Houma               LA      70361‐37
Inland Inspections, LLC                                        2304 Hughes Road                                                                                       Dickinson           TX      77539
Innovision Communications, Inc.                                Beith Stier                             1302 Waugh Drive, #301                                         Houston             TX      77019
Inspectorate America Corporation                               P.O. Box 847921                                                                                        Dallas              TX      75284‐7921
Insperity PEO Services LP                                      Daniel D. Herink                        19001 Crescent Springs Drive                                   Kingwood            TX      77339‐3802
Instrumentation & Electrical Specialists, Inc.                 Jeff Durso                              P.O. Box 5370                                                  Pasadena            TX      77508
Internal Revenue Service                                       Centralized insolvency Operation        2970 Market St                      Mail Stop 5‐Q30‐133        Philadelphia        PA      19104‐5016
Internal Revenue Service                                       Centralized insolvency Operation        P.O. Box 7346                                                  Philadelphia        PA      19101‐7346
Intralinks, Inc.                                               P.O. Box 392134                                                                                        Pittsburgh          PA      15251‐9134
IRA FBO J. Steven Emerson, Pershing LLC as custodian           1522 Ensley Ave                                                                                        Los Angeles         CA      90024
IRA FBO J. Steven Emerson, Pershing LLC as custodian ‐ Roth 
Account (19)                                                   1522 Ensley Ave                                                                                        Los Angeles         CA      90024
Iron Horse Logistics, LLC                                      Kristie Ramirez ‐ AR                    7875 Market Street                                             Houston             TX      77029
Isaac L. Ryemon Estate                                         3719 Woodvalley Road                                                                                   Houston             TX      77025
ISC Constructors, LLC                                          Jeni Attuso                             P.O. Box 77858                                                 Baton Rouge         LA      70879
ISCO Industries, Inc.                                          Hal Smith                               1974 Solutions Center                                          Chicago             IL      60677‐1009
                                                                                                                                           9494 Southwest Freeway, 
ISFI Constructors LLC                                          c/o Heard & Medack PC                   c/o David Medack; James Davis       Suite 700                  Houston             TX      77074
ISFI Constructors LLC                                          Hal Jarrell                             5106 Manor Haven                                               Houston             TX      77084
ISFI Constructors LLC                                          Hal Jarrell; Jason Jarrell              5106 Manorhaven Lane                                           Houston             TX      77084
ISN Software Corp                                              P.O. Box 841808                                                                                        Dallas              TX      75284‐1808
J .Rollins Construction, Inc.                                  P.O. Box 666                                                                                           Dayton              TX      77535
J. Steven Emerson Partners                                     1522 Engley Ave                                                                                        Los Angeles         CA      90024
Jabbour, Jean Youseff                                          11535 Early Forrest Lane                                                                               Houston             TX      77043
Jackson Walker, LLP                                            Amy Baird; Richard Howell               1401 McKinney St                    Suite 1900                 Houston             TX      77010
Jacobs Engineering Group Inc.                                  c/o Bank of America                     800 Market Street, Lockbox 18713F                              St. Louis           MO      63150‐8713
James Dyal LLC                                                 23115 Cardinal Dr.                                                                                     Hockley             TX      77447‐744
JAN X‐ray Services, Inc.                                       John Zaffer                             P.O. Box 29253                                                 New York            NY      10087‐9253
Janco Directional Drilling                                     Jan's Construction Company, Inc.        P.O. Box 2110                                                  Lake Charles        LA      70602
Jan's Construction                                             19319 Highway 101                                                                                      Iowa                LA      70647‐6140
Jan's Construction Company                                     c/o CT Corporation                      1999 Bryan St., Ste 900                                        Dallas              TX      75201
Jan's Construction Company, Inc. dba Janco                     c/o Secretary of State of Texas         Citations Unit                      P.O. Box 12079             Austin              TX      78711‐2079
JC Clark Adaly Fund LP                                         130 Adelaide Sr W, Suite 3400                                                                          Toronto                     M5H 3P5       CANADA
Jewett Law                                                     Valerie Jewett                          3801 Kirby Drive, Suite 605                                    Houston             TX      77098
JM Test Systems Inc.                                           Kelly Seawell                           PO Drawer 45489                                                Baton Rouge         LA      70895
John B Berding Irrevocable Childrens Trust                     4705 Burley Hills Drive                                                                                Cincinnati          OH      45243
Jones Walker, LLP                                              201 St. Charles Ave                     50th Floor                                                     New Orleans         LA      70170‐5100
Jones, J. Chris                                                c/o Haddington Energy Partners IV, LP   2603 Augusta, Suite 900                                        Houston             TX      77057
Jones, Louis Lee                                               4703 Kilkenny Drive                                                                                    Houston             TX      77048
Jose Lopez, Tax Master                                         1001 Preston                                                                                           Houston             TX      77002
JR LAND, LLC                                                   2911 Quincannon Ln.                                                                                    Houston             TX      77043
JSK Holdings, Inc.                                             131 Manor Lake Estates Drive                                                                           Spring              TX      77379
JTAM Engineering, LLC                                          13100 Northwest Freeway                 Suite 350                                                      Houston             TX      77040
Judy K Dupriest Spousal Trust                                  3921 Arnold Street                                                                                     Houston             TX      77005
Julber, Evan L.                                                19507 Sunshine Way                                                                                     Bend                OR      97702
JW Marriot San Antonio Hill Country Resort                     Matt Walker                             23808 Resort Parkway                                           San Antonio         TX      78261
K E Andrews & Company                                          Chad Wigington                          1900 Darlock Road                                              Rowlett             TX      75088

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K‐D Courier Services                             P.O. Box 941265                                                                             Houston              TX      77094‐8059
Keith, Nicholas                                  10530 Devinwood Dr                                                                          Baytown              TX      77523‐6739
Kelly Sakellariou and Nilos Sakellariou JTWROS   108 Bellehahn Court                                                                         Severna Park         MD      21146
KELLY SAKELLARIOU AND NILOS SAKELLARIOU JTWROS   61 CORNHILL STREET                                                                          ANNAPOLIS            MD      21401
Kelly, Hart & Hallman LLP                        201 Main                          Suite 2500                                                Fort Worth           TX      76102
Kennedy, David Sequoya                           627 Carroll St.                                                                             Brooklyn             NY      11215
Keystone Engineering Inc.                        AR‐Tim Daniel                     1100 West Causeway Approach                               Mandevillee          LA      70471
Kimberly Public Affairs                          P.O. Box 667033                                                                             Houston              TX      77266
Kinder Morgan Crude & Condensate LLC             1001 Louisiana St, Ste 1000                                                                 Houston              TX      77002
Kinder Morgan Logistics                          RIch Casoli                       145 Main Street                                           Port Washington      NY      11050
King & Spalding LLP                              P.O. Box 116133                                                                             Atlanta              GA      30368‐6133
Kingdom Come Place Community Association Inc.    17319 San Pedro Ave 318                                                                     San Antonio          TX      78232
Knudson, LP                                      8588 Katy Freeway                 Suite 441                                                 Houston              TX      77024
KorTerra, Inc.                                   Sam Handziak                      18946 Lake Drive E                                        Chanhassen           MN      55317
Koz LLLP                                         1501 Corporate Drive, Suite 230                                                             Boynton Beach        FL      33426
K‐Solv LP                                        Rene Van Andel                    9660 Katy Freeway                                         Houston              TX      77055
L&J Hilltop Enterprises, LLC                     P.O. Box 2298                                                                               Canyon Lake          TX      78133
L.F. Manufacturing, Inc.                         Carol Balcar                      P.O. Box 4458                      Dept 109               Houston              TX      77210‐4458
Lake & Land Management Co.                       Dirk Peterson                     6421 Co. Rod #448                                         Navasota             TX      77868
LAKS Junction Properties, LLC                    4511 Brittmoore Road                                                                        Houston              TX      77041
LALUMANDIER, STEVEN                              3218 W OAKS BLVD                                                                            PEARLAND             TX      77584‐8396
Lambright, Inc.                                  8720 Lambright Road                                                                         Houston              TX      77075
Land, William C.                                 260 N. Gibson St                                                                            Warrenton            GA      30828
Las Terrazas Development, LLC                    93333 Bryant Street                                                                         Houston              TX      77075
Law Office of Chukwudi Egbuonu                   Chukwudi Egbuonu                  4141 Southwest Freeway, Ste 425                           Houston              TX      77027
Law Offices of Gabriel S. Hendrickson            Olga S. Panchenko                 2777 Allen Parkway, Suite 370                             Houston              TX      77019
Lazer Energy Company, Inc.                       10330 Kingspoint Road                                                                       Houston              TX      77075
Lazer Energy Company, Inc.                       Rina Anersaon                     P.O. Box 75044                                            Houston              TX      77234
LCD Paving Incorporated                          20220 Hempstead Road              Suite 26                                                  Houston              TX      77065
LEHRMANN, DOUGLAS                                10224 OBERRENDER RD                                                                         NEEDVILLE            TX      77461‐9288
Lemon, Joseph                                    8915 Almeda Genoa Road                                                                      Houston              TX      77075
Lemon, Robert, Jr. P.                            2462 Buttonwood Court                                                                       Clearwater           FL      33763‐1223
Lewis, Brisbois, Bisaard & Smith LLP             Earl Touchstone                   24 Greenway Plaza, Suite 1400                             Houston              TX      77046
Lide Industries, LLC                             Kimberly Vega                     P.O. Box 205642                                           Dallas               TX      75320‐5642
Lindsey's Office Furniture                       12230 Northwest Freeway                                                                     Houston              TX      77092
Linebarger, Goggan, Blair & Sampson LLP          P.O. Box 1515                                                                               Houston              TX      77251‐1515
Lipow Oil Associates, LLC                        2217 Robinhood Street                                                                       Houston              TX      77005
L‐K Industries                                   6952 Lawndale Street                                                                        Houiston             TX      77023
Locke Lord LLP                                   John Arnold; Mark Miller          P.O. Box 301170                                           Dallas               TX      75303‐1170
Lockton Affinity, LLC                            P.O. Box 87‐9610                                                                            Kansas City          MO      64187‐9610
Longnecker & Associates                          11011 Jones Road                  Suite 200                                                 Houston              TX      77070
Lopez, Geraldo                                   8310 Springtime Lane                                                                        Houston              TX      77075
Louie Brents dba Avalon Industries               6001 McGinty Drive                                                                          Houston              TX      77041
M&I Electric Industries, Inc.                    Jenny Briceno‐Salazar             P.O. Box 2984                                             Houston              TX      77252
M.W. Rentals & Services, Inc.                    Angie                             4002 US Hwy 59 N                                          Victoria             TX      77905
Mabile, Matthew Mark                             402 W. 16th St                                                                              Houston              TX      77008
Magellan Crude Oil Pipeline Company LP           One Williams Center                                                                         Tulsa                OK      74172
Magnolia Energy Services, LLC                    Curtis McLemore ‐ AR              2038 Highway 28 W.                                        Taylorsville         MS      39168
Malibu Oil & Gas Corporation                     950 Echo Lane                     Suite 355                                                 Houston              TX      77024
MALINOFF, JACOB                                  6001 KANSAS ST                                                                              HOUSTON              TX      77007‐1009
Mangan Advisors                                  Michael Mangan                    24511 Bay Hill Blvd                                       Katy                 TX      77494
Marlborough, Lela                                5230 Dumore Drive                                                                           Houston              TX      77048
Maverick International, Ltd.                     P.O. Box 6600                                                                               Beaumont             TX      77725‐6660
Mayer, Heidi                                     159 2nd St #709                                                                             Jersey City          NJ      07302
MBA General Contracting, LLC                     dba MBA Construction, LLC         33126 Magnolia Circle                                     Magnolia             TX      77354
Melonson, Clark                                  701 County Road 154                                                                         Liberty              TX      77575‐9305

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Meridian Compensation Partners                      25676 Network Place                                                                                Chicago            IL       60673‐1256
Michael A Lloyd IRA                                 350 Central Park West, Apt 79                                                                      New York           NY       10025
MICHAEL A. LLOYD IRA                                350 CENTRAL PARK WEST                                                                              New York           NY       10025
Michael H. Schwartz Profit Sharing Plan             15 W 24th St, 5th Floor                                                                            New York           NY       10010
Michael H. Schwartz Profit Sharing Plan             23 East 69th Street, Apt 1F                                                                        New York           NY       10021
Michalow, Daniel                                    1166 Avenue of the Americas 9th Floor                                                              New York           NY       10036
MICHALOW, DANIEL                                    40 E 19TH ST, #5                                                                                   New York           NY       10003
Mickli Lam Photogrpahy                              c/o Micki Immanivong                    1005 S. Shepherd #203                                      Houston            TX       77019
Micro Motion, Inc.                                  Dana I. Grams                           22737 Network Place                                        Chicago            IL       60673
Micsak, Christopher Michael                         1301 Richmond Avenue, #436                                                                         Houston            TX       77006
Miesner, LLC                                        1303 Robert E. Lee                      Unit 8                                                     Austin             TX       78704
Mike Sullivan Harris County                         Tax Asessor‐Collector                   P.O. Box 4622                                              Houston            TX       77210‐4622
Mills Consulting Service                            14703 Barryknoll Lane #4                                                                           Houston            TX       77079
MILLS, MARK                                         14703 BARRYKNOLL LN APT 4                                                                          HOUSTON            TX       77079‐2805
Milton Ryemon Trust                                 6712 Harvest Glen                                                                                  Dallas             TX       75248
Mobile Modular Portable Storag                      Carina Docena                           P.O. Box 45043                                             San Francisco      CA       94145‐5043
Modco Industries, LLC                               Deborah Johnson                         P.O. Box 25277                                             Overland Park      KS       66225
Mollie Taylor Stevenson Sr. Heirs FLP, Lt           11822 Almeda Road                                                                                  Houston            TX       77045
MONTGOMERY, BARBARA                                 8 MORRO BAY DR                                                                                     MANVEL             TX       77578‐4281
Moore Control Systems, Inc.                         Kevin Puckett                           P.O. Box 677                                               Katy               TX       77492
Moore, James L.                                     37 Wilderness Trail                                                                                Friendswood        TX       77546
Morris P Hebert, Inc.                               Caroline Binnings ‐ AP                  P.O. Box 3106                                              Houma              LA       70361
Morris, Nichols, Arsht & Tunnell LLP                P.O. Box 1347                                                                                      Wilmington         DE       19899‐1347
Morton, Allen S.                                    1701 Hermann Drive, Apt 3203                                                                       Houston            TX       77004
MSI Environmental, Inc.                             Michael S. Ishimoto                     235 Teewood Court                                          Montgomery         TX       77356
Muse, Stancil & Co.                                 5080 Spectrum Drive                     Suite 600E                                                 Addison            TX       75001
Nalco Company LLC                                   Gordan Creel                            P.O. Box 730005                                            Dallas             TX       75373‐0005
Nap Supplies                                        Sharon Stiver                           P.O. Box 365                                               Belmont            MI       49306‐0365
Nationwide                                          P.O. Box 514540                                                                                    Los Angeles        CA       90051‐4540
NC Contractors, Inc.                                Melissa Cuevas                          P.O. Box 2287                                              Channelview        TX       77530
Neway Valve International, Inc.                     9757 Stafford Centre Drive                                                                         Stafford           TX       77477
NewFields Companies, LLC                            Ginger Hicks                            1349 West Peachtree St             Suite 200               Atlanta            GA       30309
Newport Construction Services                       Mark Baird                              9800 Richmond Avenue               Suite 303               Houston            TX       77042
Norman Smith Equipment Company                      Josh Harrison                           P.O. Box 1297                                              Channelview        TX       77530
Norwest Services, LLC                               14115 Luthe Road                        Suite 100                                                  Houston            TX       77039
NY UTMA Acct. for Julia L. Berk Austin Berk CSTDN   11721 Winterset Terrace                                                                            Potomac            MD       20854
NY UTMA Acct. for Julia L. Berk Austin Berk CSTDN   95 Eagle Chase                                                                                     Woodbury           NY       11797
Oak Tree Capital Management LP                      333 S. Grande Ave                       28th Floor                                                 Los Angeles        CA       90071

Odey Atlas Fund                                     12 Upper Grosvenor Street                                                                          London                      W1K2ND        UNITED KINGDOM

Odey European Inc.                                  12 Upper Grosvenor Street                                                                          London                      W1K2ND        UNITED KINGDOM

Odey Orion Fund                                     12 Upper Grosvenor Street                                                                          London                      W1K2ND        UNITED KINGDOM

OEI Mac Inc.                                        12 Upper Grosvenor Street                                                                          London                      W1K2ND        UNITED KINGDOM
Office of United States Trustee                     515 Rusk Street, Suite 3516                                                                        Houston            TX       77002
Oil Patch Group, Inc.                               P.O. Box 204667                                                                                    Dallas             TX       75320‐4667
Olmos, Sofia                                        7630 Arnim St                                                                                      Houston            TX       77087
Omega Safety Training, Inc.                         Chad Keller                             6037 Fry Rd.                       Suite 126‐102           Katy               TX       77449
Origin, Inc.                                        P.O. Box 2312                                                                                      Houston            TX       77252‐2312
OWENS, AMY                                          704 E 6TH 1/2 ST                                                                                   HOUSTON            TX       77007‐1704
Owens, Amy E.                                       704 E. 6th 1/2 Street                                                                              Houston            TX       77007
Oyervidez, Rodrigo                                  1010 Lakin Avenue                                                                                  Pasadena           TX       77506
P2 Energy Solutions                                 P.O. Box 912692                                                                                    Denver             CO       80291‐2692
Paradigm Liason Services LLC                        P.O. Box 9123                                                                                      Wichita            KS       67277‐0123

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Pasadena ISD                                        P.O. Box 1318                     2223 Strawberry Road                                          Pasadena            TX      77501‐1318
Pastore Houldsworth & Co.,LLC                       2120 Watts Road                                                                                 Houston             TX      77030
Pavlak, Michael                                     4665 Hahns Peak Dr Unit 102                                                                     Loveland            CO      80538‐6187
PAVLICEK, DARRELL                                   222 MILL TRAIL DR                                                                               SUGAR LAND          TX      77498‐2670
Penhall Company                                     Diana Vallez                      6728 Theall Road                                              Houston             TX      77066
PEPPARD, DAVID                                      10242 LONGMONT DR                                                                               HOUSTON             TX      77042‐2033
Peppard, David W.                                   David Peppard                     10242 Longmont Drive                                          Houston             TX      77042
Perennial Environmental Services, LLC               Dennis Woods                      13100 Northwest Frwy, Suite 150                               Houston             TX      77040
Peterson, Austin                                    713 Camelot Lane                                                                                Houston             TX      77024
Petroleum Club of Houston                           1201 Lousiana Street              35th Flloor                                                   Houston             TX      77002
Pierce Construction & Maintenance Co.               P.O. Box 485                                                                                    Petal               MS      39465
Pinnacle Construction Services LLC                  1606 White Oak Drive                                                                            Houston             TX      77009
Pioneer Furniture & Office Design                   8090 Kempwood                                                                                   Houston             TX      77076
Pioneer Steel & Tube Corp.                          dba Pioneer Pipe                  25 College Park Cove                                          Jackson             TN      38301
Pioneer Well Services, LLC                          P.O. Box 202563                                                                                 Dallas              TX      75320‐2563
Pipeline Intelligence Company                       P.O. Box 1099                                                                                   Missouri City       TX      77459‐1099
Pipeline Supply & Service                           P.O. Box 74321                                                                                  Cleveland           OH      44194‐4321
Piper Jaffray & Co.                                 Heather Kim                       345 Park Avenue                       Suite 1200              New York            NY      10154
Piper Jaffray & Co.                                 Michael D. Sutter                 345 Park Avenue                       Suite 1200              New York            NY      10154
Piper Jaffray & Co.                                 Richard Schinder                  345 Park Avenue                       Suite 1200              New York            NY      10154
Plan B Technical Services                           Miles Bradford Dun                6700 Richardson Road #303                                     Houston             TX      77069
Platinum Parking                                    One Riverway Box #44                                                                            Houston             TX      77056
PLC Construction, Inc.                              C/O First Liberty National Bank   P.O. Box 3027                                                 Liberty             TX      77575
PLC Construction, Inc.                              P.O. Box 9126                                                                                   Liberty             TX      77575
PMD Group, Inc./Paul Dosen                          7304 Henderson Drive                                                                            Fairview            TN      37062
Point to Point Directional Drilling, Inc.           208 W South Street                                                                              Welsh               LA      70591
Point to Point Directional Drilling, Inc.           Robert D. Miller                  15036 County at 2380 FM 3459 Road N                           Onalaska            TX      77360
Polaris West                                        Richard Luebeck                   6177 Highway Blvd                                             Katy                TX      77494
Porter Bennett‐Expenses                             284 South Meadow Drive                                                                          McAllister          MT      59740
Praxair Services, Inc.                              Amanda Hess                       P.O. Box 417518                                               Boston              MA      02241‐7518
Precision Drilling                                  P.O. Box 202695                                                                                 Dallas              TX      75320‐2695
Precision Flow, Inc.                                Yvette Cortez                     P.O. Box 7137                                                 Odessa              TX      79760
Precision Petroleum Labs Inc.                       Daniel Zahibi                     5915 Star Lane                                                Houston             TX      77057
Precision Powered Products Inc.                     Liz Munoz ‐ AR                    P.O. Box 441445                                               Houston             TX      77244
Premier Equipment Corporation, Inc.                 P.O. Box 15203                                                                                  Baton Rouge         LA      70817
Premier Pipe, LLC                                   P.O. Box 840306                                                                                 Dallas              TX      75284‐0306
President and Fellows of Harvard College            125 High St, 26th Floor                                                                         Boston              MA      02110
President and Fellows of Harvard College            600 Atlantic Ave                                                                                Boston              MA      02210
Prime Clerk LLC                                     Shai Waisman                      830 3rd Avenue, 9th Floor                                     New York            NY      10022
Prime Energy Services, LLC                          Susan Selever                     654 N. Sam Houston Pkwy E.            Suite 300               Houston             TX      77060
Pro View Global Digital Surveillance                c/o Gate Guard Serv.              5656 S. Staples St                                            Corpus Christi      TX      78411
Professional Service                                Glenn Cebrun                      3730 Dacoma Street                    3730 Dacoma Street      Houston             TX      77092
Project Consulting Services, I                      3300 W. Esplanade Ave, S          Suite 500                                                     Metarie             LA      70002‐3447
Prowler Acquisition Corp                            1010 Lamar St.                    Suite 710                                                     Houston             TX      77002
Puffer‐Sweiven, LP                                  P.O. Box 301124                                                                                 Dallas              TX      75303
Pulido, Martin                                      3301 Auburn St                                                                                  Houston             TX      77017
PwC Product Sales LLC                               Caroline Gonzalez                 P.O. Box 952282                                               Dallas              TX      75395‐2282
QM Law Firm                                         Carl A. Moore                     2202 Ruth Street                                              Houston             TX      77004
Quality Integrated Services                         P.O. Box 1950                                                                                   Guymon              OK      73942
Quill Corporation                                   P.O. Box 37600                                                                                  Philadelphia        PA      19101‐0600
Quinn, Jacqueline                                   12811 Foxton Road                                                                               Houston             TX      77048
R4 Specialties, Inc.                                Ray Dugal                         10111 Grant Road                      Suite Q                 Houston             TX      77070
Railpros Field Services                             1705 W. Northwest Hwy             Suite 150                                                     Grapevine           TX      75051
Railroad Commission of Texas                        Oil and Gas Division              P.O. Box 12967                                                Austin              TX      78711‐2967
Railroad Commission of Texas                        P5 Financial Assurance Unit       P.O. Box 12967                                                Austin              TX      78711‐2967
Railroad Commission of Texas ‐ Oil & Gas Division   Allison Ginger                    1701 North Congress Avenue            P.O. Box 12967          Austin              TX      78711

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                          NAME                                               ADDRESS 1                                   ADDRESS 2                        ADDRESS 3                     CITY       STATE POSTAL CODE      COUNTRY
Railroad Commission of Texas ‐ Oil & Gas Division              Tiffany Humberson                           1701 North Congress Avenue           P.O. Box 12967                 Austin              TX    78711

Railroad Commission of Texas District 5 ‐ Oil & Gas Division   Attn: Audrey Kuklenz                        1919 N. Loop West                    Suite 620                      Houston             TX   77008
Rambo, Shonquera                                               15106 Jerich Drive                                                                                              Houston             TX   77053
Rawson, Inc.                                                   P.O. Box 732161                                                                                                 Dallas              TX   75373‐2161
Ray, Carroll Robertson                                         2727 Allen Parkway, Suite 1000                                                                                  Houston             TX   77019
Ray, Carroll Robertson                                         601 Jefferson Suite 4000                                                                                        Houston             TX   77002
Raymond James & Associates ,Inc.                               attn: Treasury/ECM‐RMB                      P.O. Box 23603                                                      St. Petersburg      FL   33742
Razor Excavation LLC                                           P.O. Box 555                                                                                                    Houston             TX   77362
RC Health Services Inc.                                        1801 County Pl. Pkwy                        #109                                                                Pearland            TX   77584
RD3 Consulting, LLC                                            Robbie Leffel                               6627 Whitehill Lane                                                 Richmond            TX   77406
RDG Filings                                                    P.O. Box 883213                                                                                                 San Francisco       CA   94188‐8213
RE/SPEC Consulting                                             P.O. Box 725                                                                                                    Rapid City          SD   57709‐0725
Reddy, Malladi S.                                              2398 Baycrest Drive                                                                                             Houston             TX   77058‐3702
Redwood Partners II, LLC                                       23 East 69th Street, Apt 1F                                                                                     New York            NY   10021
Redwood Partners II, LLC                                       54 West 21st Street Suite 1010                                                                                  New York            NY   10010
Reed Road LLC                                                  J C Dupriest                                3921 Arnold Street                                                  Houston             TX   77005
Reed Road, LLC                                                 3921 Arnold                                                                                                     Houston             TX   77005
Relevant Solutions, LLC                                        Brandon Dickerson                           14910 Henry Road                                                    Houston             TX   77060
Reliant                                                        P.O. Box 120954                             Dept 0954                                                           Dallas              TX   75312‐0954
Reliant                                                        P.O. Box 650475                                                                                                 Dallas              TX   75265‐0475
Reliant Business Products                                      Angela Hawkins                              10641 Haddington Dr.                 Suite 100                      Houston             TX   77043
Remote Operations Center, LLC                                  23530 Kingsland                             Suite 200                                                           Katy                TX   77494

Revenew International, LLC                                     Randy L. Plath                              Attention: Accounts Payable          9 Greenway Plaza, Suite 1950   Houston             TX   77046‐0905
Rexa Inc.                                                      Rose Gamgemi                                4 Manley St                                                         West Bridgewater    MA   02379
Reytec Construction Resources                                  Rusty Pena                                  1901 Hollister Street                                               Houston             TX   77080

Rezny, Markus                                                  30B Cambridge Park                                                                                              Twickenham          OV   TW12JK         UNITED KINGDOM
Richardson, Jeffrey Bruce                                      34120 Running Wood Court                                                                                        Magnolia            TX   77354
Rightway Connections of Texas                                  Linda Muniz                                 P.O. Box 875                                                        Humble              TX   77347
Rio Energy International, Inc.                                 Josh Holmes                                 5718 Westheimer Rd                   Suite 1806                     Houston             TX   77057
Riverloft Capital Master Fund, Ltd                             c/o Riverloft Capital Management            300 W 41 St, Ste 201A                                               Miami Beach         FL   33140
Riveron Consulting                                             2515 McKinney Avenue                        Suite 1200                                                          Dallas              TX   75201
Riverstone Credit Partners, L.P                                Attn: Christopher Abbate                    712 Fifth Avenue, 36th Floor                                        New York            NY   10019

Riverstone Credit Partners, L.P.                               c/o Cortland Capital Market Services, LLC   225 W. Washington Street, 21st flr   Attn: Valerie Opperman         Chicago             IL   60606
Riverstone Equity Partners, LP                                 Christopher Abbate                          712 Fifth Avenue                     36th Floor                     New York            NY   10019
RJT Commercial, Inc.                                           Stephanie Woodard                           2765 W. Kingsley Road                                               Garland             TX   75041
ROBERSON, HORACE                                               P.O. Box 13266                                                                                                  ODESSA              TX   79768‐3266

Robert A Cruz, dba Family and Friends Cleaning Service         Robert Cruz                                 1029 Hwy 6 N, Suite 650‐196          1029 Hwy 6 N, Suite 650‐196    Houston             TX   77079
Robinson, Reginald G.                                          7042 Rocker Gate                                                                                                Missouri City       TX   77489
Rodriguez, Marcelino                                           701 Trinity St                              Apt 310                                                             Beaumont            TX   77701
RODRIGUEZ, MARCELINO                                           701 TRINITY ST STE 310                                                                                          BEAUMONT            TX   77701‐2378
Rodriguez, Marcelino                                           P.O. Box 4580                                                                                                   Orange              TX   77631
Rodriguez, Orlando                                             8695 Wayfarer Lane                                                                                              Houston             TX   77075
Rodriquez, Maria M.                                            7408 Bluejay Street                                                                                             Houston             TX   77075
Rome, Bill                                                     3 Riverway, Suite 1550                                                                                          Houston             TX   77056
ROME, WILLIAM                                                  20707 RHODES RD                                                                                                 SPRING              TX   77388‐3716
Rose, Brian                                                    241 Kings Village Road                      #66471                                                              Scotts Valley       CA   95067
Rosemount, Inc.                                                Ryan Paulson                                P.O. Box 730156                                                     Dallas              TX   75373‐0156
Roth Living Trust                                              Trustee                                     W 277 N2547 Rocky Pt. Rd.                                           Pewaukee            WI   53072
Rotork Tulsa, Inc.                                             4433 W 49th St                              Suite D ‐ Attn: AR                                                  Tulsa               OK   74107
Roy Palermo                                                    6451 Jefferson Street                                                                                           Houston             TX   77023
RPM Services, Inc.                                             P.O. Box 747                                                                                                    Iowa Colony         TX   77583

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                            NAME                                      ADDRESS 1                                   ADDRESS 2                      ADDRESS 3                   CITY       STATE   POSTAL CODE   COUNTRY
RR Donnelley                                           P.O. Box 932721                                                                                             Cleveland            OH      44193
Rucker, Barbara                                        15025 Stagecoach Road                                                                                       Stagecoach           TX      77355
S&P Global Platts                                      P.O. Box 844492                                                                                             Dallas               TX      75284‐4492
Sabine Storage & Operations Inc.                       5718 Westheimer Suite 1251                                                                                  Houston              TX      77057‐5704
SafeRack, LLC                                          P.O. Box 168                                                                                                Andrews              SC      29510
Safety Advantage, LLC                                  Paul Fontenot                             15201 E. Freeway                    Suite 102                     Channelview          TX      77530
Sage Software, Inc.                                    14855 Collections Center Drive                                                                              Chicago              IL      60693
SALEHI, BABAK                                          14 SLEEPY OAKS CIR                                                                                          HOUSTON              TX      77024‐5427
SAM                                                    P.O. Box 732449                                                                                             Dallas               TX      75373‐2449
SARD VERBINNEN & CO                                    630 Third Avenue                                                                                            New York             NY      10017
SCANDOLA, JAMES                                        13115 PARC LAKE EDGE DR                                                                                     CYPRESS              TX      77429‐6196
Scott Drilling Incorporated                            11923 Green Pine Circle                                                                                     Houston              TX      77066
                                                                                                                                     801 Cherry Street, Suite 1900, 
Securities & Exchange Commission ‐ Fort Worth Office   Attn: David Woodcock, Regional Director   Burnett Plaza                       Unit 18                         Fort Worth         TX      76102
Securities & Exchange Commission ‐ NY Office           Attn: Bankruptcy Department               Brookfield Place                    200 Vesey Street, Suite 400     New York           NY      10281‐1022
Securities and Exchange Commission                     Secretary of the Treasury                 100 F Street NE                                                     Washington         DC      20549
SGS North America Inc.                                 P.O. Box 2506                                                                                                 Carol Stream       IL      60132‐2506
Sidley Austin, LLP                                     P.O. Box 0642                                                                                                 Chicago            IL      60690
Siemens Industry, Inc.                                 P.O. Box 2715                                                                                                 Carol Stream       IL      60132‐2715
Simnitt, Travis                                        2412 Yorktown Street                      APT 336                                                             Houston            TX      77056
SIMUNEK, JON                                           26 BENTGRASS PL                                                                                               THE WOODLANDS      TX      77381‐6122
Simunek, Jon D.                                        26 Bentgrass Place                                                                                            The Woodlands      TX      77381
Sirius Solutions L.L.L.P.                              Jim Jackson                               P.O. Box 202377                                                     Dallas             TX      75320
Smith Pump Company, Inc.                               Lea Swanson                               301 M & B Industrial                                                Waco               TX      76712
Smith Tank & Steel, Inc.                               P.O. Box 2370                                                                                                 Gonzales           LA      70707‐2370
Smith, Arthur L.                                       7308 Shadyvilla Lane                                                                                          Houston            TX      77055
Smith, Jacqueline                                      10801 Cullen Blvd                                                                                             Houston            TX      77047
Solenis, LLC                                           Ann M. Justice                            6121 Almeda Genoa Road                                              Houston            TX      77048
Solid State Automation and Controls                    Travis Gregg                              5200 Mitchelldale St, Suite E17                                     Houston            TX      77092
Solomon, Sybil                                         10011 Cliffwood                                                                                               Houston            TX      77035
Solomon, Tanika J.                                     2120 Welch Street                                                                                             Houston            TX      77019
Sonarwire Global, LLC                                  Gary McCool                               P.O. Box 576                                                        Abita Springs      LA      70420
Sooner Pipe, LLC                                       Dept. 26                                  P.O. Box 4346                                                       Houston            TX      77210‐4346
Southern Farm Bureau Life Insurance Company            1401 Livingston Lane                                                                                          Jackson            MS      39213
Southern Industrial Supply, In                         200 Wisteria Drive                                                                                            Hattiesburg        MS      39401
Southwest Pipe Services, Inc.                          P.O. Box 2187                                                                                                 Alvin              TX      77512
SP Plus Corporation                                    P.O. Box 790402                                                                                               St. Louis          MO      63179‐0402
Specialized Waste Systems, Inc.                        P.O. Box 505                                                                                                  Channelview        TX      77530
Speedy Printing                                        3433 W. Alabama                           Suite C                                                             Houston            TX      77027
SPX FLow US, LLC                                       P.O. Box 848194                                                                                               Dallas             TX      75284‐8194
SSI (U.S.) Inc.                                        dba Spencer Stuart                        P.O. Box 98991                                                      Chicago            IL      60693
Stargel Office Solutions                               4700 Blalock                                                                                                  Blalock            TX      77041
Statoil Texas Onshore Properties LLC                   ATTN Treas Dept                           2103 Citywest Blvd, Ste 800                                         Houston            TX      77042
Sterling Electrical Services                           Claudia Larez                             P.O. Box 70                                                         Manvel             TX      77578
Stewart Organization                                   P.O. Box 166708                                                                                               Irving             TX      75016
Stewart, Nekia                                         5230 Dumore Drive                                                                                             Houston            TX      77048
Stewart, Nekia Marie                                   5230 Dumore Dr                                                                                                Houston            TX      77048
Stone Coast Fund Services                              Two Portland Square                                                                                           Portland           ME      04101
Strategy Engineering & Consulting                      Carey Sullivan                            15995 N. Barkers Landing‐Ste 200                                    Houston            TX      77079
Streit, Peterson, Hall &                               2401 Fountain View                        Suite 350                                                           Houston            TX      77057‐4819
Strike, LLC                                            Frank Victor‐McCawley                     P.O. Box 844338                                                     Dallas             TX      75284‐4338
STS Operating, Inc.                                    dba SunSource                             P.O. Box 730698                                                     Dallas             TX      75373‐0698
STV Energy Services, Inc.                              Gerald Donnelly                           205 West Welch Drive                                                Douglassville      PA      19518
Sunbelt Supply Co.                                     P.O. Box 951037                                                                                               Dallas             TX      75395‐1037
SW New Energy, LLC                                     808 W. Birmingham St                                                                                          Broken Arrow       OK      74011
Swageloc Southeast Texas                               Dept. 235                                 P.O. Box 4346                                                       Houston            TX      77210

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Swift Technical Services, LLC                Meagan Shisler                   3050 Post Oak Blvd                  Suite 1450            Houston             TX      77056
Swyka, Nicholas L.                           3023 Del Monte Dr                                                                          Houston             TX      77019
T&L Lease Service, LTD                       Attn: Accounts Receivable        P.O. Box 760                                              Alvin               TX      77512
T.N. Emonds & Associates                     P.O. Box 1419                                                                              Houston             TX      77251
Tag Place                                    P.O. Box 55329                                                                             Tulsa               OK      74155
Tallent Investments, LLC                     Megan R. Tellent                 706 Wall Williams Road                                    West Monroe         LA      71291
Tanner Services, LLC                         Beverly Franchebois              P.O. Box 1434                                             Eunice              LA      70535
Tarbet, John                                 5918 Rosemary Cir                                                                          Baytown             TX      77521‐2679
Taylor, Earnest                              P.O. Box 331308                                                                            Houston             TX      77233
TechOne Centre                               914 Main St                      Stuie T1                                                  Houston             TX      77002
Terracon Consultants, Inc.                   Ivan Acuna                       P.O. Box 959673                                           St. Louis           MO      63195‐9673
Testing Vendor Setup                         1234 Hollywood Blvd                                                                        Hollywood           FL      33019
Tex Styles International, Inc.               Angelique Moberly                12725 Royal Drive                                         Stafford            TX      77477
Texan Land and Cattle II, Ltd.               333 West Loop North              Suite 410                                                 Houston             TX      77024
Texas Attorney General                       P.O. Box 12548‐ MC008                                                                      Austin              TX      78711‐2548
Texas Commerical Diving, Inc.                1650 Dickinson Ave               Suite D                                                   Dickinson           TX      77539
Texas Commission on Environmental Quality    12100 Park 35 Circle                                                                       Austin              TX      78753
Texas Excavation Safety System               P.O. Box 678058                                                                            Dallas              TX      75267
The Burnett Companies Consolidated Inc.      P.O. Box 973940                                                                            Dallas              TX      75397‐3940
The Carl McCain Memorial Foundation          Attn Rhonda Speer                2277 Plaza Drive, Suite 500                               Sugarland           TX      77479
The Compliance Group, Inc.                   14884 Hwy 105W, Ste 100                                                                    Montgomery          TX      77356
The John Shutleff Company dba Allesco        14375 Sommermeyer                14375 Sommermeyer                                         Houston             TX      77041
The Peryman Group                            510 N. Valley Mills Drive        Suite 300                                                 Waco                TX      76710‐6076
The Rodman Company                           5101 Dominica Lane                                                                         Fort Worth          TX      76244‐2085
The Rowland Group, Series LLC                Nicole Owen                      3851 South 103rd East Ave                                 Tulsa               OK      74146
The Tank Tiger LLC                           20 Nassua Street                 Suite 233                                                 Princeton           NJ      08542
The Users Group, Inc. (TUG)                  3525 Piedmont Rd. NE             Building 5, Suite 300                                     Atlanta             GA      30305
Thiara, Parvinder                            210 W 78th St #48                                                                          New York            NY      10024
Thiara, Parvinder                            475 Washington Blvd, Apt 1901N                                                             Jersey City         NJ      07310
Thomasson Mats, LLC                          Matthew Scruggs                  P.O. Box 490                                              Philadelphia        MS      39350
Tiger Safety                                 P.O. Box 790                                                                               Beaumont            TX      77701
TJWSR/SKW Properties LTD                     P.O. Box 580426                                                                            Houston             TX      77258
TM Implementation                            Zions Bancorporation             One South Main Street                                     Salt Lake City      UT      84133‐1109
Tolunay‐Wong Engineers, Inc.                 10710 S. Sam Houston Parkway W   Suite 100                                                 Houston             TX      77031
Tomas M. Rios                                8109 Peekskill Lane                                                                        Houston             TX      77075
Total Valve & Equipment                      Ryan Duhon                       P.O. Box 82465                                            Lafayette           LA      70598
TRAICOFF, STEPHEN                            5631 YARWELL DR                                                                            HOUSTON             TX      77096‐3921
TRC Environmental Corp                       P.O. Box 536282                                                                            Pittsburgh          PA      15253‐5904
Trevino, Louisiana                           10464 Peach Blossom                                                                        Houston             TX      77075
Tripplett, Kristina                          10609 Basson Drive                                                                         Houston             TX      77075
Troy Construction, LLC                       Ashley Teiken                    8521 McHard Road                                          Houston             TX      77053
Tucker Midstream, Inc.                       P.O. Box 61047                                                                             Midland             TX      79711
UBS Asset Management (Americas) Inc.         One North Wacker Drive                                                                     Chicago             IL      60606
Underground Storage, LLC                     Theodore Grabowski               4800 San Felipe                                           Houston             TX      77056
Union Pacific Railroad                       1400 Douglas St                                                                            Omaha               NE      68179
United Brine Services Company LLC            4800 San Felipe                                                                            Houston             TX      77056
Universal Wellhead Services                  Andy Heater                      75729 Leopard St, Bldg 9                                  Corpus Christi      TX      78408
US Attorney for Southern District of Texas   Ryan K. Patrick                  1000 Louisiana, Ste. 2300                                 Houston             TX      77002
USA Industries, Inc.                         P.O. Box 12757                                                                             Houston             TX      77217‐2757
Verizon Wireless                             140 West Street                                                                            New York            NY      10013
Verizon Wireless                             P.O. Box 660108                                                                            Dallas              TX      75266‐0108
VersaTech Automation Services                Mitchel Weise                    11349 FM 529 Road                                         Houston             TX      77041
Vonage                                       23 Main Street                                                                             Holmdel             NJ      07733
W. L. Walker Company, Inc.                   Christy Davis                    330 North Boulder Avenue                                  Tulsa               OK      74103
Wailua Technology, Inc.                      Alane Carter                     6120 W by Northwest Blvd            Suite 120             Houston             TX      77040
Waldemar S. Nelson and Company               William F. Berg                  1200 St. Charles Ave                                      New Orleans         LA      70130

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                            NAME                       ADDRESS 1                     ADDRESS 2                    ADDRESS 3                CITY    STATE   POSTAL CODE   COUNTRY
Waste Management of Texas              1001 Fannin, Suite 4000                                                                   Houston           TX      77002
Waste Management of Texas              Pasadena                      P.O. Box 660345                                             Dallas            TX      75266‐0345
Weamco, Inc.                           2350 Industrial Road                                                                      Sapulpa           OK      74066
Weaver, Falgour, Caruth, Inc.          P.O. Box 3913                                                                             Port Arthur       TX      77642
WEEKLEY, CHAD                          11020 COLLINGSWOOD                                                                        LA PORTE          TX      77571‐4396
Weeks & Co, Inc.                       David Weeks                   2500 Bee Baces Road                Building 2 , Suite 250   Austin            TX      78746
Wells, Michael                         883 County Road 143                                                                       Liberty           TX      77575‐9194
WGM Holdings, LLC                      c/o Wiliam Gist               5207 Jason                                                  Houston           TX      77096
Whitco Supply, LLC                     AR Dion Brilly                200 N. Morgan Avenue                                        Broussard         LA      70518
White & Case                           Arthur Nahas                  1221 Avenue of the Americas                                 New York          NY      10020
White & Case                           David Turetsky                1221 Avenue of the Americas                                 New York          NY      10020
White & Case                           Eliza McDougall               1221 Avenue of the Americas                                 New York          NY      10020
White & Case                           Heather Borthwick             1221 Avenue of the Americas                                 New York          NY      10020
Whitlock, James                        4018 Tiffany                                                                              Houston           TX      77045
Wilcox, Kelli                          2300 Richmond Ave             Apt 509                                                     Houston           TX      77098
WILCOX, KELLI                          2300 RICHMOND AVE APT 509                                                                 HOUSTON           TX      77098‐3270
Wildcat Golf Club LP                   Joan Whitmore                 12000 Almeda Rd.                                            Houston           TX      77045
Willbros Construction (US)             Jenny Norwood                 PO Bxo 4346, Dept 328                                       Houston           TX      77210‐4346
Wilson, Corey                          2616 Calumet St                                                                           Hosuton           TX      77004
Wilson, Ken                            Measurement Integrity LLC     2938 LCR 486                                                Mexia             TX      76667
Wilson, William T.                     P.O. Box 27419                                                                            Houston           TX      77227
Windhorse Endeavor, L.P.               125 High St, 22nd Floor                                                                   Boston            MA      02110
Windhorse Horizons, LP                 125 High St, 22nd Floor                                                                   Boston            MA      02110
WINDHORSE HORIZONS, LP                 Xofficio LLC                  1800 Timberwood Blvd, Suite B                               Charlottesville   VA      22911
Windhorse Partners, LP                 125 High St, 22nd Floor                                                                   Boston            MA      02110
Windhorse Partners, LP                 Stone Coast Fund Services     Two Portland Square                                         Portland          ME      04101
Windhorse Partners, LP                 Xofficio LLC                  1800 Timberwood Blvd, Suite B                               Charlottesville   VA      22911
Winsted Corporation                    10901 Hampshire Ave South                                                                 Bloomington       MN      55438
Winston & Strawn, LLP                  36235 Treasury Center                                                                     Chicago           IL      60694‐6200
Wise, Jim P                            2106 Sunshine Point Dr.                                                                   Kingwood          TX      77345‐1679
Woodgroup Mustang, Inc.                P.O. Box 301286                                                                           Dallas            TX      75303‐1286
Wortham Insurance & Risk Management    P.O. Box 301513                                                                           Dallas            TX      75303‐1513
Wrayline, LLC                          Andrew Wray                   6030 Britmoore Road                Suite G                  Houston           TX      77041
XL Specialty Insurance Company         70 Seaview Avenue             Seaview House                                               Stamford          CT      06902
X‐Ray Locating Services, Inc.          2719 Broadway Street          Suite A                                                     San Leon          TX      77539
Xylem Dewatering Solutions             28611 Network Place                                                                       Chicago           IL      60673‐1286
Yang, Anping                           12514 Pinerock Lane                                                                       Houston           TX      77024
Young Conaway Stargatt & Taylor, LLP   Edmon Morton                  Rodney Square                      1000 North King Street   Wilmington        DE      19801
Young Conaway Stargatt & Taylor, LLP   Kenneth Enos                  Rodney Square                      1000 North King Street   Wilmington        DE      19801
Young, Bobbie                          6161 Savoy                    Suite 1019                                                  Houston           TX      77036
ZP Energy Fund, L.P.                   888 Seventh Ave, 23rd Floor                                                               New York          NY      10106
Zspace, LC dba Houston Sign Company    Nathan Olinger                5801 Chimney Rock Road                                      Houston           TX      77081




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